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OBITUARY

James M. Parry (1940–2010)




Jim sadly passed away in June 2010 after several years of
battling cancer. He fought his illness with enormous courage
and dignity, he never complained about it and he lived life to
the full throughout it.
   Jim was at the forefront of studies in genetic toxicology and
he was the founding father of much of this discipline within the
UK, having supervised the doctoral theses of .70 researchers.
Many of his former students have gone on to hold senior
positions within UK and European industries requiring such
expertise, and his mentorship and care have undoubtedly
facilitated their success.
   Jim began his academic studies at Queen Mary College
London, studying Botany. He then undertook his PhD studies
in Genetics at Liverpool University, where his interests in DNA
repair were established. With Brian Cox, Jim isolated and
identified a spectrum of yeast mutants that were radiation
sensitive. These strains enabled the identification of many yeast
and human genes with roles in genome stability. In essence,
they underpinned much of the field of DNA repair and the
yeast Saccharomyces cerevisiae became the model organism
for many researchers interested in genome stability.
   However, the highlight of his time at Liverpool had to be
meeting Liz, his future wife. Jim and Liz formed a loving
partnership for life, sharing work and social interests and
working as a team.
   After his PhD studies Jim, with Liz, moved to Oxford
University to take up a postdoctoral position with Brian Cox.
Then in 1966, he was appointed to a lectureship in Genetics
at the newly formed Genetics Department at Swansea
University. It was there that Jim went on to establish his
own group and laboratory, and where he remained for the
next 40 years, being promoted to senior lecturer, reader and
then professor, eventually chairing the genetics undergraduate
degree course.
   Jim was an excellent teacher as well as a researcher. His                    During his career, Jim published .300 papers and reviews.
enthusiasm stimulated an interest in Genetics in many                        In addition to these, he was involved in editing and
students, and many of us have him to thank for this. Jim’s                   contributing to many books in the field of Genetic
research became increasingly focussed on genetic toxicology,                 Toxicology, most notably ‘Comparative Genetic Toxicolo-
and it evolved from studies employing yeast as a model                       gy’(editors J. M Parry and C. F. Arlett, 1984); the ‘UKEMS
organism to those also using cultured mammalian cells. He                    Recommended Procedures’ publication series and his latest
investigated the mechanisms to maintain genome stability,                    contribution, ‘Principles and Methods of Genetic Toxicology’
with an emphasis on how environmental chemicals might                        (in press). This last book was written to accompany the
cause birth defects and cancer. His laboratory had a keen                    United Kingdom Environmental Mutagen Society (UKEMS)
interest in aneuploidy as well as both chromosomal and point                 sponsored Masters degree course in Genetic Toxicology. This
mutations. He and Liz co-ordinated several European Union                    course was the result of Jim combining his research and
projects including that on ‘Protecting the European population               teaching skills; it was first established successfully at Swansea
from aneugenic chemicals’ and they participated in those on                  University in 2005 and it then transferred to the University of
‘Neurotoxicity of mercury compounds’, ‘The analysis of                       Surrey following Jim’s retirement from full-time academia at
oxidative damage’ and ‘State of the art methods for detecting                Swansea.
chemical carcinogens’. More recently, Jim developed an                          From 1974 to 1977, Jim was President of UKEMS, vice-
interest in investigating the potential thresholds of toxicolog-             president of the European Environmental Mutagen Society
ical activity and he was setting up databases on ‘Aneugenic                  (EEMS) from 1993 to 1995 and its President from 1995 to
chemicals’, ‘Toxic chemicals in foodstuffs’ and ‘Mammalian                   1997. He was the founding editor of the journal ‘Mutagenesis’
mutagens’.                                                                   and the ‘European Journal of Molecular Genetics and
Ó The Author 2010. Published by Oxford University Press on behalf of the UK Environmental Mutagen Society.
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Obituary

Toxicology’, and he was an editorial board member of
‘Mutation Research’.
   Jim also worked extensively and with the highest degree of
commitment for the UK and Welsh governments. He served as
Chairman of the Department of Health (DoH) Advisory
Committee on the Mutagenicity of Chemicals in Food,
Consumer Products and the Environment from 1991 to 2001,
he was a member of the DoH Advisory Committee on the
Carcinogenicity of Chemicals in Food, Consumer Products and
the Environment from 1991 to 2001, of the DoH Working
Group on Diet and Cancer of the Committee on Medical
Aspects of Food and Nutrition Policy for the report ‘Nutritional
Aspects of the Development of Cancer’ (1998), of the Medical
and Toxicology Panel of the UK Advisory Committee on
Pesticides (ACP) from 1996 to 2010, of the ACP itself from
2008 and of the Growth Hormone Working Group for the
Veterinary Products Committee for 2003–05. In Wales, he
served on the Advisory Committee for the Food Standards
Agency from 2001–07 and on its Objective 1 Research
Funding Committee from 2004 to 2006. He made many visits
to Brussels to assist the European Union with numerous
projects; here, his motives were undoubtedly helped by his love
of Belgian chocolates!
   Jim’s contributions to genetic toxicology were acknowl-
edged in a number of ways. He was awarded a DSc by
Liverpool University and he was invited to present numerous
plenary lectures at prestigious international conferences over
many years. In 2002, he was awarded the Dow Foundation
Sphere Award for his contributions to developing methods for
analysing the quality of the environment, and in 2003, he
received the Frits Sobels Award from EEMS for his
contributions to providing an understanding of the mechanisms
by which environmental chemicals modify the genome.
   Jim will be missed enormously by many of us, for his
friendship, his help and his mentorship. He was a devoted
husband, father and granddad, and his family were always the
most important part of his life. Jim will no doubt be missed
most of all by Liz, with whom he shared work and a family life,
and by their daughter Jane, their son Matt and their children.

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